Case 2:24-cv-00751-RJS-CMR Document 116-1 Filed 12/30/24 PageID.1566 Page 1 of 2




   D. Craig Parry (7274)                               Mark O. Van Wagoner (3313)
   Chaunceton Bird (16402)                             2455 E. Parleys Way, Suite 200
   Daniel J. Nelson (19030)                            Salt Lake City, Utah 84109
   PARR BROWN GEE & LOVELESS, P.C.                     Telephone: 801-328-2200
   101 South 200 East, Suite 700                       movw@comcast.net
   Salt Lake City, Utah 84111
   Telephone: (801) 532-7840
   Facsimile: (801) 532-7750
   cparry@parrbrown.com
   cbird@parrbrown.com
   djnelson@parrbrown.com

   Attorneys for Defendants

                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   ZACHARY SZYMAKOWSKI, an individual,
   and JOHANNA A. URIBE, on behalf of FELIPE
   A. URIBE, a minor, on behalf of themselves and
   a proposed class of allegedly similarly situated F-
   1 students,                                                     ORDER GRANTING
                                                          STIPULATED MOTION TO EXTEND
                  Plaintiffs,
                                                           TIME FOR DEFENDANTS TO FILE
          vs.
                                                           REPLY SUPPORTING MOTION TO
   UTAH HIGH SCHOOL ACTIVITIES                                       DISMISS
   ASSOCIATION, INC., a Utah nonprofit
   corporation; ROBERT CUFF, an individual;
   MARILYN RICHARDS, an individual; AMBER
   SHILL, an individual; BURKE STAHELI, an
   individual; DAVID WARREN, an individual;
   DAVID LUND, an individual; ZACK MCKEE,
   an individual; PAUL SWEAT, an individual;
   LUKE RASMUSSEN, an individual; JERRE
   HOLMES, an individual; JASON SMITH, an
   individual; MIKE MEES, an individual; DEVIN
                                                             Case No.: 2:24-cv-00751
   SMITH, an individual; BRYAN DURST, an
                                                             Judge Robert J. Shelby
   individual; and BRENT STRATE, an individual,              Magistrate Judge Cecilia M. Romero
                  Defendants.



                                                   1
Case 2:24-cv-00751-RJS-CMR Document 116-1 Filed 12/30/24 PageID.1567 Page 2 of 2




         Having considered the parties’ Stipulated Motion to Extend Time for Defendants to File

  Reply Supporting Motion to Dismiss (“Motion”) (ECF No. 116), and for good cause appearing,

  the Court hereby GRANTS the Motion and ORDERS that the time for Defendants to file their

  reply memorandum supporting Defendants’ Motion to Dismiss Individual Defendants (ECF No.

  102) is extended to January 13, 2025.

         IT IS SO ORDERED.



         DATED:




                                              Magistrate Judge Cecilia M. Romero
                                              United States District Court for the District of Utah




                                               2
